Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 1 of 21 Page ID #:1




 1 Thomas C. Seabaugh, State Bar No. 272458
   THE LAW OFFICE OF THOMAS C. SEABAUGH
 2 333 South Grand Avenue, 42nd Floor
   Los Angeles, California 90071
 3 Tel: (213) 225-5850
   Email: tseabaugh@seabaughfirm.com
 4
   T. Kennedy Helm, IV State Bar No. 282319
 5 Helm Law Office, PC
   644 40th Street, Suite 305
 6 Oakland, CA 94609
   Tel: (510) 350-7517
 7 Email: kennedy@helmlawoffice.com
 8 Attorneys for Plaintiff
 9
10
11                       UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA
13
14 CARRIE LYNN WEBB, individually            Case No. 5:22-cv-1448
   and as successor-in-interest to Keith Roy
15 Webb                                      COMPLAINT FOR DAMAGES
16              Plaintiff,                      1. 42 U.S.C. § 1983 – Survival and
                                                   Wrongful Death
17        v.
                                                2. 42 U.S.C. § 1983 – Deprivation Of
18 COUNTY OF SAN BERNARDINO;                       Familial Relationship;
   SHERIFF JOHN MCMAHON,
19 UNDERSHERIFF SHANNON DICUS,                  3. 42 U.S.C. § 1983 – Entity and
   CAPTAIN JEFF ROSE, LIBERTY                      Supervisory Liability;
20 HEALTHCARE OF CALIFORNIA,
   INCORPORATED, a California                   4. Cal. Civ. Code § 52.1;
21 corporation; and DOES 1–40,
                                                5. Negligence and Breach of
22              Defendants.                        Mandatory Duties
23
                                            DEMAND FOR JURY TRIAL
24
25
26
27
28

                                          -1-
                                                                 COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 2 of 21 Page ID #:2




 1                                   INTRODUCTION
 2            1.    This is a civil-rights, wrongful-death and survival action arising
 3 from Defendants’ deliberate indifference to the serious, emergent medical and
 4 mental-health needs of Keith Roy Webb, a 32-year-old pretrial detainee in the
 5 custody of the County of San Bernardino at the San Bernardino County West Valley
 6 Detention Center. Mr. Webb, a person with a long history of heroin addiction, was
 7 booked into the West Valley Detention Center on July 6, 2021. At the time, Mr.
 8 Webb was detoxifying from heroin, and he was evidently improperly screened for
 9 mental-health issues, and for the risk of self-harm due to opiate detoxification, and
10 he was inappropriately put in restrictive housing. During the four-day incarceration
11 before his death, Mr. Webb was apparently not provided with Medication Assisted
12 Treatment (MAT), as his toxicology report shows, and so he likely endured
13 untreated detoxification from heroin, which is a well-known cause of suicide. On
14 July 10, 2021, Mr. Webb was found to have hung himself from his bunk bed with a
15 sheet, resulting in hypoxic encephalopathy. Mr. Webb died from his injuries on July
16 12, 2021 at Kaiser Foundation Hospital-Fontana.
17            2.    Plaintiff Carrie Lynn Webb, his mother, contends that his death was
18 unnecessary and preventable. The County controls the relevant facts regarding Mr.
19 Webb’s suicide. The County has refused Plaintiff’s counsel’s request for access to
20 material information regarding Mr. Webb’s suicide. Therefore, Plaintiff does not
21 know the precise cause or causes of Mr. Webb’s suicide, but believes that the
22 allegations in this Complaint will have further evidentiary support after a reasonable
23 opportunity for investigation and discovery.
24                            JURISDICTION AND VENUE
25            3.    Carrie Webb brings this 42 U.S.C. § 1983 civil action seeking
26 damages for deprivations of constitutional rights secured by the Fourteenth
27 Amendment of the United States. Jurisdiction is founded on 28 U.S.C. §§ 1331 and
28 1343. The state-law claims are so related to the § 1983 claims that they form part of

                                              -2-
                                                                    COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 3 of 21 Page ID #:3




 1 the same case and controversy and are therefore within the Court’s supplemental
 2 jurisdiction under 28 U.S.C. § 1367.
 3            4.    Venue is proper in this Court under 28 U.S.C. § 1391(b) because all
 4 incidents, events, and occurrences giving rise to this action occurred in the City of
 5 Rancho Cucamonga, County of San Bernardino, State of California, and within the
 6 Eastern Division of the Central District of California.
 7                                        PARTIES
 8            5.    Plaintiff Carrie Lynn Webb is the mother of Keith Roy Webb. She
 9 brings this action individually and as her son’s only successor in interest under
10 California Code of Civil Procedure § 377.32 (declaration filed concurrently
11 herewith).
12            6.    Defendant County of San Bernardino is a California general law
13 county operating as a local government entity and not an arm of the State of
14 California for Eleventh Amendment purposes. The County operates and manages
15 the San Bernardino County Sheriff’s Department, which in turn operates the jail
16 system, which includes the San Bernardino County West Valley Detention Center.
17            7.    At all material times, until about July 16, 2021, Defendant John
18 McMahon served as the Sheriff of San Bernardino County. As Sheriff, Defendant
19 McMahon was the final policymaking official for the County’s jail system,
20 including its customs and policies on: restrictive housing; provision of mental-health
21 care to pretrial detainees, including suicide prevention for those detoxifying from
22 opiates; and detoxification treatment, including MAT. Defendant McMahon is being
23 sued in his individual capacity.
24            8.    At all material times, until about July 16, 2021, Defendant Shannon
25 D. Dicus served as the Under Sheriff of San Bernardino County. As the Under
26 Sheriff, Defendant Dicus was a person to whom Defendant McMahon delegated
27 authority for implementing the County’s customs and polices on restrictive housing;
28 provision of mental-health care to pretrial detainees, including suicide prevention

                                              -3-
                                                                    COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 4 of 21 Page ID #:4




 1 for those detoxifying from opiates; and detoxification treatment, including MAT.
 2 Defendant Dicus is being sued in his individual capacity.
 3            9.     At all material times, Defendant Captain Jeff Rose was the
 4 commander of the West Valley Detention Center, and a person to whom Defendants
 5 McMahon and Dicus delegated authority for implementing the County’s customs
 6 and polices on restrictive housing; provision of mental-health care to pretrial
 7 detainees, including suicide prevention for those detoxifying from opiates; and
 8 detoxification treatment, including MAT. Defendant Rose is being sued in his
 9 individual capacity.
10            10.    Defendant Liberty Healthcare of California, Incorporated, was, at all
11 times mentioned herein, a California corporation licensed to do business in
12 California. At all material times, Defendant Liberty Healthcare of California, Inc.,
13 has been the County’s subcontracted provider for mental-health care in the County’s
14 jails, including assessing and treating pretrial detainees at risk of self-harm from
15 opiate withdrawal, and for provision of detoxification treatment, including MAT.
16            11.    The true names of Defendants Does 1–40 (the “individual
17 defendants”) are unknown to Plaintiff, who therefore sues these defendants by
18 fictitious names. Plaintiff will seek leave to amend this complaint to show the true
19 names and capacities of these defendants when they have been ascertained. Each
20 fictitiously-named defendant is responsible in some manner for the conduct and
21 liabilities alleged herein, either as a direct or integral participation, by reason of that
22 individual’s failure to intervene, or that individual’s supervisory role.
23            12.    At all relevant times, the individual defendants were agents or
24 employees of the County or Liberty Healthcare of California, Inc. To the extent they
25 were independent contractors, the County is responsible for their actions under
26 principles of non-delegable duties. At all relevant times, the individual defendants
27 acted under color of state law and within the course and scope of their employment.
28 All individual defendants engaged in, integrally participated in, and failed to

                                                 -4-
                                                                       COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 5 of 21 Page ID #:5




 1 intervene to prevent the conduct of which Plaintiff complains, and engaged in other
 2 wrongful acts or omissions as alleged below.
 3                  EXHAUSTION OF ADMINISTRATIVE REMEDIES
 4            13.    Plaintiff timely presented her claim for damages pursuant to Section
 5 910 of the California Government Code on January 7, 2022. The Claim was denied
 6 on February 16, 2022. This lawsuit is timely brought within six months of the
 7 rejection of that claim.
 8                     FACTS COMMON TO ALL CLAIMS FOR RELIEF
 9            14.    The San Bernardino County Sheriff’s Department is in charge of
10 mental-health and medical programs for pretrial detainees in its jails, including the
11 West Valley Detention Center.
12                                 Custom Of Restrictive Housing
13            15.    First, the County has a long-standing custom or policy of using
14 restrictive housing. Restrictive housing—also known as solitary confinement,
15 segregation, or isolation—is any type of detention that involves three basic
16 elements: removal form the general population, whether voluntary or involuntary;
17 placement in a locked room or cell, whether alone or with another prisoner; and the
18 inability to leave the room or cell for the vast majority of the day.
19            16.    On information and belief, the County, including Sheriff McMahon,
20 Under Sheriff Dicus, and Commander Rose, have known since well before Mr.
21 Webb’s suicide that the conditions in restrictive housing, including little or no out-
22 of-cell time, may cause a pretrial detainee without psychiatric disabilities to develop
23 them, or to become suicidal, especially where the pretrial detainee is also
24 detoxifying from heroin or opiates.
25                         Custom Of Inadequate Mental-Health Staffing
26            17.    Second, the County has a long-standing custom or policy of failing
27 to hire sufficient mental-health staff to provide competent intake/assessment and
28 treatment. On information and belief, since before 2016, the County has not

                                               -5-
                                                                     COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 6 of 21 Page ID #:6




 1 employed enough psychiatrists and therapists to meet the demands of its jail
 2 population. Without appropriate staffing, the County cannot implement the essential
 3 components of a constitutional mental-health care delivery system.
 4            18.   On or about August 23, 2016, knowing of the staffing deficiency,
 5 Sheriff John McMahon sought approval from the County’s Board of Supervisors to
 6 increase the value of the contract with Liberty Health Care Corporation by
 7 $14,161,308.00 from $3,047,314.00 to $17,208,62.00 and to change the one-year
 8 term of the contract to a three-year term. The amended contract with Liberty
 9 Healthcare Corporation was to provide mental-health services in the County’s jails,
10 and specifically to provide comprehensive mental health care and programming
11 services in the county’s correctional facilities. Between 2016 and 2021, the value of
12 the contract increased. On or about June 8, 2021, a little over a month before Mr.
13 Webb’s suicide, Sheriff McMahon sought and obtained approval of the County
14 Board of Supervisor to increase the of the County’s contract with Liberty Healthcare
15 to a maximum amount of $73,734,486.00.
16            19.   On information and belief, due in part to mental-health staffing
17 deficiencies, suicides occurred at the County’s jails after the 2016 contract and
18 despite continued increases in available funds for mental-health staffing.
19            20.   On or about February 25, 2017, inmate David Damits, housed alone
20 in a single-man County jail cell, was found hanging from the top bunk and was
21 pronounced dead at the scene.
22            21.   On or about September 24, 2017, West Valley Detention Center
23 Albert Snell hung himself by a sheet from the top bunk of his cell. Snell was taken
24 to the hospital, where he later died.
25            22.    On December 14, 2018, the Court in Turner v. County of San
26 Bernardino No. 5:16-CV-00355-VAP (DTBx) (C.D. Cal.) signed a consent decree
27 entered into by the County and inmate plaintiffs to, among other aims, ensure the
28 provision of constitutional mental-health care in the jails and to address the use of

                                               -6-
                                                                    COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 7 of 21 Page ID #:7




 1 restrictive housing in the jails. Turner v. Cnty. of San Bernardino, No. 5:16-CV-
 2 00355-VAP (DTBx), 2018 WL 6617638, at *1 (C.D. Cal. Dec. 14, 2018).
 3            23.    As part of the 2018 consent decree, the County’s Sheriff’s
 4 Department agreed to hire sufficient nursing staff such that registered nurses—and
 5 not correctional staff—perform all medical and mental-health intake screenings,
 6 including suicide-risk assessments, at the County’s jails, including the West Valley
 7 Detention Center.
 8            24.    On information and belief, Defendants McMahon, Dicus, and Rose
 9 continued to fail to ensure that mental-health staffing comported with the consent
10 decree.
11            25.    On February 20, 2020, the Turner Court entered an order regarding
12 mental-health staffing at the County’s jails. Pursuant to it, the County, agreed to use
13 all reasonable means to recruit, hire, and train 20 mental clinicians authorized by the
14 San Bernardino County Board of Supervisors at its January 7, 2020 meeting. See
15 Dkt. 108, p. 2, ¶ 4. The County also agreed, “[c]oncurrently with the efforts to
16 recruit, hire and train the 20 mental health clinicians authorized in January 2020 and
17 continuing thereafter, the Sheriff’s office and its contractor Liberty Health shall take
18 all reasonable steps to recruit staff to fill the proposed additional 39.81 mental health
19 positions. Id. at ¶ 5. The Sheriff’s Department and Liberty Health had as their goal
20 “recruiting and prospectively hiring staff to fill as many of the additional positions
21 as reasonably possible so that such staff are available to commence work effective
22 July 1, 2020 in the event the BOS approves the funding for such positions.” Id.
23            26.    Nevertheless, on information and belief, the County’s Sheriff’s
24 Department continued to fail to hire enough mental-health staff, despite knowledge
25 of the need for such staffing.
26 //
27 //
28 //

                                               -7-
                                                                     COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 8 of 21 Page ID #:8




 1                                Custom Of Inadequate Screening
 2            27.   Third, on information and belief, historically pretrial detainees on
 3 arrival at the West Valley Detention center are screened by untrained correctional
 4 officers—and not health care professionals—for health-care symptoms, including
 5 for mental illness and suicidality and drug withdrawal. If the County’s screening
 6 correctional officer manages to identify a person as mentally ill or at risk for suicide
 7 or self-harm from withdrawal, that person is referred to mental-health staff for an
 8 evaluation. These evaluations are often delayed and never occur, or if they do occur,
 9 they are incomplete and inadequate. If the clinical evaluation occurs, it seeks only to
10 find out if the person has a history of psychiatric medications, and it ignores the
11 other necessary components of an adequate assessment, such as current symptoms,
12 substance abuse, social history, and suicide history.
13            28.   As part of the 2018 Turner consent decree, the County also agreed
14 to expand the intake screening questionnaire, to conform to National Commission
15 on Correctional Healthcare (NCCHC) standards, and to include specific questions
16 regarding suicide risk factors, withdrawal risk factors, a detailed mental-health
17 history, a mental-status exam, and a disposition status for withdrawal management.
18            29.   On information and belief, however, the County continues to allow
19 unqualified personnel to perform screenings.
20   Custom Of Failing To Provide Medication Assisted Treatment To Detoxifying
21                                  Opiate/Heroin Users
22            30.   Fourth, the County has developed a custom of failing to adequately
23 assess, manage, or treat individuals suffering from substance withdrawal
24 complications. The County’s policies and practices regarding withdrawal do not
25 conform to the professional standards of care.
26            31.   The County has a custom of failing to refer pretrial detainees who
27 are detoxifying from heroin or opiates for Medication Assisted Treatment (MAT).
28 Clinically driven and tailored to meet each participant’s needs, MAT programs treat

                                               -8-
                                                                    COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 9 of 21 Page ID #:9




 1 addiction to opiods, such as heroin and prescription pain relievers that contain
 2 opiates, as well as synthetic opiates, such as Fentanyl. MAT’s prescribed medication
 3 normalizes brain chemistry, blocking the euphoric effects of opiods, relieving
 4 physiological cravings, and normalizing body functions without the opiod’s negative
 5 and euphoric affects.
 6            32.    MAT is required treatment because individuals with opiod use
 7 disorder often experience debilitating symptoms when undergoing opiod
 8 withdrawal—including uncontrolled pain and psychological distress—that may
 9 trigger suicidal ideation, especially during the first week of incarceration, if not
10 properly treated.
11            33.    On information and belief, at all relevant times, Defendants
12 McMahon, Dicus, and Rose knew that a jail fails to protect inmates from harm
13 where it fails to provide MAT to individuals at a significant risk of harm from opiod
14 withdrawal.
15           Custom of Failing To Provide Timely Access To Adequate Care
16            34.    Fifth, the County has a custom of not having a functioning system to
17 ensure timely access to mental-health care. On information and belief, historically
18 the primary way for pretrial detainees to request health care is to give a Health
19 Service Request form (“HSR”) to a correctional officer. The information is the HSR
20 is not private. Therefore, the practice deters people from asking for help because
21 custody staff may review their private health information; many HSRs have also
22 been lost or destroyed before reaching mental-health care staff.
23            35.    The County provides only limited and insufficient mental-health
24 treatment options for pretrial detainees. The County’s sub-contractor for mental-
25 health care, Liberty Healthcare and its employees, provide limited mental-health
26 care. They do not provide counseling or therapy. Instead, Liberty Healthcare
27 employees provide a brief, non-confidential, cell-front visit by a clinician,
28 accompanied by at least one correctional deputy, to assess if a pretrial detainee has

                                               -9-
                                                                     COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 10 of 21 Page ID #:10




  1 acute mental-health symptoms. The visit, if it occurs at all, will occur several weeks
  2 after a person first has requested help. Liberty Healthcare employees do not provide
  3 pretrial detainees with practical skills to help them cope with their symptoms or
  4 living conditions, including being locked in their cells for 23 or more hours a day on
  5 restrictive housing.
  6                         Custom Of Failing To Review Suicides
  7            36.    Sixth, the County has a custom of failing to adequately review,
  8 document, or correct any deficiencies in mental-health care. On information and
  9 belief, historically, for suicides, the County’s practice has been to gather records
 10 regarding the death and then to confer with its attorneys, to primarily assess liability.
 11 The County does not document findings or conclusions from the record review nor
 12 does it document a plan for corrective action; conduct a psychological autopsy of
 13 any suicide; or interview or meet with custody and health-care staff who may have
 14 been involved in a suicide. The County’s failure to implement an effective death
 15 review and quality-assurance program results in a substantial risk of harm of
 16 preventable injury and death from suicide.
 17            37.    On information and belief, by 2021, the County continued to
 18 employ the above unconstitutional customs and policies, which were the moving
 19 force in continued suicides at the County’s jails.
 20            38.    On or about March 22, 2021 Casandra Pastora was removed from a
 21 ventilator and died after having committed suicide by self-asphyxia while housed at
 22 the West Valley Detention Center. On information and belief, Ms. Pastora’s suicide
 23 was not reviewed by anyone from the County.
 24            39.    On or about July 6, 2021, Keith Roy Webb was booked into the
 25 West Valley Detention Center on a felony charge of California Health & Safety
 26 Code § 11351 (unlawful possession/purchase for sale of a narcotic/controlled
 27 substance). Mr. Webb had struggled for years with addiction to heroin and
 28

                                               -10-
                                                                      COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 11 of 21 Page ID #:11




  1 amphetamines, and when he was booked into the jail, he showed signs of active
  2 detoxification from heroin.
  3            40.   On information and belief, Keith Roy Webb was apparently
  4 incompetently assessed for risk of harm as a result of opiate withdrawal and suicide
  5 by DOE Defendants 1–40, either correctional deput(ies) or unqualified, non-
  6 registered-nurse Liberty Healthcare clinician. Mr. Webb’s intake likely did not
  7 comply with the consent decree’s screening requirements to assess mental-health
  8 needs, including risk of harm from withdrawal and suicide. As a result of the DOE
  9 Defendant’s incompetent screening, Mr. Webb was not referred for a mental-health
 10 evaluation and was not put on any suicide precautions. On information and belief, a
 11 competent screening by a registered nurse would have uncovered facts revealing
 12 that Mr. Webb, actively withdrawing from heroin and presenting a depressed affect,
 13 was at risk for suicide.
 14            41.   Mr. Webb, who was showing obvious signs of active detoxification
 15 from heroin needed to have been put on MAT. At no time, however, was Mr. Webb
 16 referred for MAT by DOES 1–40.
 17            42.   Alternatively, and/or concurrently, a correctional deputy or a
 18 Liberty Healthcare clinician completed an intake for Mr. Webb indicating that he
 19 was at risk of harm as a result of withdrawal and suicide, and needed mental-health
 20 care and MAT, but failed to refer Mr. Webb for mental-health care or MAT or, if
 21 Mr. Webb was referred, he was never seen by a mental-health clinician because the
 22 County still has not brought its mental-health clinician staffing levels into
 23 compliance with the Turner consent decree.
 24            43.   Alternatively and/or concurrently, correctional deputies DOES 1–40
 25 may have ignored Mr. Webb’s continued deterioration from detoxification.
 26            44.   Alternatively and/or concurrently, one or more of Defendants DOES
 27 1–40, with knowledge that Mr. Webb was detoxifying from heroin and at risk of
 28

                                               -11-
                                                                     COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 12 of 21 Page ID #:12




  1 self-harm, may have improperly classified Mr. Webb to put him in restrictive
  2 housing, which increased the risk of self-harm.
  3            45.    On July 10, 2021, at about 10:45 a.m., Keith Roy Webb was found
  4 hanging in his cell. On July 12, 2021, at Kaiser Foundation Hospital-Fontana, Keith
  5 Roy Webb died from his injuries. The death certificate indicates the immediate
  6 cause of death as hypoxic encephalopathy and hanging. The death certificate also
  7 indicates that Keith Roy Webb died at a County Correctional Facility and that he
  8 “hanged [him]self from [a] bunk bed with [a] sheet.” Mr. Webb’s toxicology report
  9 indicated that he had not been given any drugs associated with MAT.
 10            46.    The County and the individual defendants have a duty to prevent in-
 11 custody deaths, and specifically to prevent deaths like the death of Mr. Webb. The
 12 County’s policies and procedures, as required by state and federal laws and
 13 regulations, do not suffice to prevent deaths in custody; fail in screening and
 14 classifying pretrial detainees for the risk of suicide; inappropriately put pretrial
 15 detainees in restrictive housing; fail to provide MAT to pretrial detainees
 16 detoxifying from opiates; fail to provide mental-health care; and fail to provide
 17 regular cell checks, and other precautions, to prevent the deaths of pretrial detainees.
 18            47.    Upon information and belief, the individual defendants responsible
 19 for housing inmates at the San Bernardino County West Valley Detention Center
 20 deliberately indifferent to the unreasonable risk of severe harm that Keith Roy Webb
 21 posed to himself. The individual defendants knew or should have known of the
 22 danger of self-harm. Knowing of the danger, these defendants were constitutionally
 23 obligated to exercise due vigilance to protect Mr. Webb from harm.
 24            48.    Because of the acts and failures to act of DOES 1–40, and because
 25 of the unconstitutional customs of the County, Mr. Webb committed suicide.
 26            49.    As to those individual defendants with supervisory roles,
 27 Defendants McMahon, Dicus, and Rose, Plaintiff alleges that these defendants
 28 directed their subordinates in the acts and failures to act that deprived Decedent and

                                                -12-
                                                                      COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 13 of 21 Page ID #:13




  1 Plaintiff of their Fourteenth-Amendment rights. Defendants McMahon, Dicus, and
  2 Rose set in motion a series of acts by their subordinates, or knowingly refused to
  3 terminate a series of acts by their subordinates, that they knew or reasonably should
  4 have known would cause the subordinates to deprive Decedent and Plaintiff of these
  5 rights.
  6            50.   These supervisory defendants knew that their subordinates were
  7 engaging in these acts and knew or reasonably should have known that the
  8 subordinates’ conduct would deprive Decedent and Plaintiff of these rights; and the
  9 supervisory defendants failed to act to prevent their subordinates from engaging in
 10 such conduct.
 11            51.   The conduct of the supervisory defendants was so closely related to
 12 the deprivation of Decedent’s and Plaintiff’s rights as to be the moving force that
 13 caused the ultimate injury.
 14                                      DAMAGES
 15            52.   As a direct and proximate result of each Defendant’s acts and/or
 16 omissions as set forth above, Plaintiff individually sustained the following injuries
 17 and damages, past and future, among others, funeral and burial expenses; loss of
 18 support and familial relationships, including loss of love, companionship, comfort,
 19 affection, society, services, solace, and moral support; and all other wrongful death
 20 damages; and Plaintiff’s own anguish, pain, suffering, grief, sense of loss, and other
 21 forms of emotional distress, arising from the fact and manner of their loved one’s
 22 death.
 23            53.   As the Decedent’s successor-in-interest, Plaintiff is entitled to
 24 recover damages for Mr. Webb’s damages that survive his death, including his loss
 25 of enjoyment of life, pre-death pain and suffering, and punitive damages.
 26            54.   Plaintiff alleges claims for punitive damages and penalties
 27 allowable under 42 U.S.C. § 1983 and other state and federal law against the
 28 individual defendants only.

                                               -13-
                                                                     COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 14 of 21 Page ID #:14




  1                             FIRST CLAIM FOR RELIEF
  2                  Fourteenth Amendment—Conditions of Confinement
  3                                    (42 U.S.C. § 1983)
  4                              (against individual defendants)
  5            55.    The foregoing allegations are incorporated as if re-alleged herein.
  6            56.    The Constitution’s due process clause guarantees a pre‐trial detainee
  7 like Mr. Webb the right to adequate mental-health and medical care where the
  8 County’s failure to provide such care would amount to “deliberate indifference” to a
  9 serious medical need. Detoxification from heroin or opiates is a serious medical and
 10 mental-health need. The individual defendants, acting under the color of state law in
 11 their individual and personal capacities, deprived Mr. Webb, a pretrial detainee, of
 12 the rights, privileges, and immunities secured by the Fourteenth Amendment to the
 13 United States Constitution by failing to address the risk that his opiate or heroin
 14 detoxification and mental-health condition would lead to self-harm. The individual
 15 defendants were deliberately indifferent to the substantial risk that was posed,
 16 leading to Mr. Webb’s death. Upon information and belief, each of the individual
 17 defendants participated or failed to intervene in the complained-of conduct of the
 18 others.
 19            57.    Despite knowledge of the substantial risk of self-harm that Mr.
 20 Webb posed to himself, defendants did not take reasonable available measures to
 21 protect him, even though reasonable officers in the circumstances would have
 22 appreciated the high degree of risk involved—making the consequences of the
 23 individual defendants’ conduct obvious.
 24            58.    The individual defendants subjected Decedent to their wrongful
 25 conduct, depriving Plaintiff and Decedent of rights described herein, knowingly,
 26 maliciously, and with conscious and reckless disregard for the rights and safety of
 27 Plaintiff and Decedent.
 28

                                               -14-
                                                                     COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 15 of 21 Page ID #:15




  1             59.   As a direct and proximate result of Defendants’ acts and omissions
  2 as set forth above, Mr. Webb lost his life and his mother sustained injuries and
  3 damages as set forth above.
  4                            SECOND CLAIM FOR RELIEF
  5           Fourteenth Amendment—Interference with Familial Relationship
  6                                    (42 U.S.C. § 1983)
  7                                  (against all defendants)
  8             60.   The foregoing allegations are incorporated as if re-alleged herein.
  9             61.   Plaintiff had a right under the Fourteenth Amendment to her
 10 parent/child relationship with her son that were infringed by his death.
 11             62.   The acts of the individual defendants deprived Plaintiff of her
 12 particular rights under the United States Constitution were deliberately indifferent
 13 to the substantial danger of self-harm to Mr. Webb. As a result, Mr. Webb lost his
 14 life.
 15             63.   The conduct of the individual defendants was malicious, oppressive
 16 and in reckless disregard of Plaintiff’s rights, entitling Plaintiff to punitive damages.
 17             64.   Upon information and belief, each of the individual defendants
 18 integrally participated in or failed to intervene in the complained-of conduct of the
 19 others.
 20             65.   As a direct and proximate result of Defendant’s acts and omissions
 21 as set forth above, Mr. Webb lost his life and Plaintiff sustained injuries and
 22 damages as set forth above.
 23 //
 24 //
 25 //
 26 //
 27 //
 28 //

                                                -15-
                                                                      COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 16 of 21 Page ID #:16




  1                              THIRD CLAIM FOR RELIEF
  2                             Entity and Supervisory Liability
  3                                     (42 U.S.C. § 1983)
  4                  (against Defendants County, McMahon, Dicus, and Rose)
  5            66.     The foregoing allegations are incorporated as if re-alleged herein.
  6            67.     Plaintiff is informed and believes, and on that basis allege, that the
  7 County and its decision makers, including but not limited to the individual
  8 defendants sued in their supervisory capacities, Defendants McMahon, Dicus, and
  9 Rose, with deliberate indifference, gross negligence, and reckless disregard to the
 10 safety, security, and constitutional and statutory rights of Decedent and all persons
 11 similarly situated, maintained, enforced, tolerated, permitted, acquiesced in, and
 12 applied policies, practices, customs and usages of, among other things, each of the
 13 following:
 14                   a.    Failing to hire sufficient competent mental-health staff to
 15        screen pretrial detainees for risks of heroin/opiate withdrawal and self-harm,
 16        including suicide.
 17                   b.    Allowing untrained correctional deputies to screen pretrial
 18        detainees for risk of heroin/opiate withdrawal and self-harm, including
 19        suicide.
 20                   c.    Failing to have competent screening procedures in place,
 21        including by addressing the screening deficiencies identified in Turner.
 22                   d.    Placing inmates at risk of self-harm from heroin and/or opiate
 23        withdrawal in restrictive housing.
 24                   e.    Failing to have a functioning system to ensure timely access to
 25        mental-health care.
 26                   f.    Providing only limited and insufficient mental-health
 27        treatment options for pretrial detainees.
 28

                                                 -16-
                                                                       COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 17 of 21 Page ID #:17




  1                  g.     Failing to provide pretrial detainees suffering from heroin or
  2         opiate withdrawal with Medication Assisted Treatment (MAT).
  3                  h.     Allowing deputies to not perform the adequate and timely
  4         safety checks required by Title 15 of the California Code of Regulations.
  5                  i.     Failing to adequately train, supervise and control employees in
  6         the proper classification and supervision of inmates to protect against self-
  7         harm required by Title 15 of the California Code of Regulations.
  8                  j.     Failing to adequately train, supervise and control employees to
  9         protect against signs of suicide risk.
 10                  k.     Failing to adequately train, supervise and control employees
 11        that they should identify, monitor, and provide treatment to those inmates who
 12        present a suicide risk.
 13                  l.     Failing to adequately investigate and, when appropriate,
 14         discipline or retrain correctional deputies and supervisors involved in
 15         misconduct.
 16                  m.     Condoning and encouraging correctional deputies supervisors
 17         in the belief that they can violate the rights of persons such as Decedent and
 18         Plaintiff with impunity, and that such conduct will not adversely affect their
 19         opportunities for promotion and other employment benefits.
 20                  n.     Failing to analyze critical incidents such as this one and take
 21         appropriate corrective action to prevent recurrences.
 22 The foregoing list is illustrative and not exhaustive.
 23            68.    Defendants County and those individual defendants acting in their
 24 supervisory capacities promulgated, tolerated and applied, the policies, practices and
 25 usages alleged above, among others, which were a moving force that deprived
 26 Decedent of rights, privileges, and immunities secured by the Fourteenth-
 27 Amendment right to secure from inmate-on -inmate violence, as alleged above.
 28

                                                -17-
                                                                      COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 18 of 21 Page ID #:18




  1            69.    Defendants disregarded the known or obvious consequence that the
  2 training deficiencies and omissions would cause the violation of the rights of
  3 individuals situated similarly to Plaintiff and Decedent.
  4            70.    As a result of the policies, customs, practices and decisions, and
  5 training deficiencies alleged above, Decedent and Plaintiff suffered damages as
  6 alleged above.
  7                            FOURTH CLAIM FOR RELIEF
  8                           (Cal. Civil Code § 52.1 - Bane Act)
  9                              (against individual defendants)
 10            71.    The foregoing allegations are incorporated as if re-alleged herein.
 11            72.    By their acts, omissions, customs, and policies, Defendants, acting
 12 in concert, as described above, and with threat, intimidation, and coercion, violated
 13 Plaintiff’s and Decedent’s rights under Cal. Civil Code § 52.1 and the following
 14 clearly established rights under the laws and constitutions of the United States and
 15 California:
 16            a.    Decedent’s right to protection and to be free from unsafe conditions
 17            of confinement, as secured by the Fourteenth Amendment to the United
 18            States Constitution and the California Constitution, Article 1, Sections 17
 19            and 24;
 20            b.    Plaintiff’s right to be free from wrongful government interference
 21            with familial relationships and Plaintiff’s right to companionship, society,
 22            and support with the Decedent, as secured by the Fourteenth Amendment
 23            and state constitutional provisions and laws;
 24            c.    The right to enjoy and defend life and liberty; acquire, possess, and
 25            protect property; and pursue and obtain safety, happiness, and privacy, as
 26            secured by the California Constitution, Article 1, Section 1; and
 27            d.    The right to protection from bodily restraint, harm, or personal insult,
 28            as secured by California Civil Code § 43.

                                                -18-
                                                                      COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 19 of 21 Page ID #:19




  1            73.       Upon information and belief, defendants had the specific intent
  2 to violate Mr. Webb’s rights, and they violated his rights through their own
  3 intentional and volitional conduct, and with deliberate indifference to the rights and
  4 safety of Decedent. Their deliberate indifference, in and of itself constitutes threat,
  5 intimidation, or coercion under the Bane Act as interpreted by courts, and their
  6 willful conduct with knowledge that the deprivations of Decedent’s rights would
  7 occur, or with reckless disregard for those consequences establishes the requisite
  8 specific intent for a Bane Act violation.
  9            74.    To the extent this claim is based on a violation of Decedent’s rights,
 10 it is asserted as a survival claim. To the extent that the violations of rights were done
 11 to Plaintiff, it is asserted by her individually and as a wrongful death claim. To the
 12 extent the violations were done to both Decedent and Plaintiff, it is asserted as an
 13 individual claim, survival and wrongful death.
 14            75.       As a direct and proximate result of Defendants’ violation of
 15 California Civil Code § 52.1 and of Plaintiff’s and Decedent’s rights under the
 16 United States and California Constitutions and law, Plaintiff sustained injuries and
 17 damages, and against each Defendant named in this Count, and are entitled to
 18 damages as set forth above, and punitive damages against all individual Defendants,
 19 but not the County, including all damages and penalties allowed by California Civil
 20 Code §§ 52 and 52.1 and California law, three times actual damages, and attorneys’
 21 fees.
 22                             FIFTH CLAIM FOR RELIEF
 23                      Negligence and Breach of Mandatory Duty
 24                              (against individual defendants)
 25            76.    The foregoing allegations are incorporated as if re-alleged herein.
 26            77.    The individual defendants had a duty to conform their conduct to
 27 that of reasonably careful and prudent corrections officers, as such duties relate to
 28 the prevention and mitigation of harm to detainees.

                                                -19-
                                                                      COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 20 of 21 Page ID #:20




  1            78.    In committing the above-described acts and omissions, the conduct
  2 of the individual defendants fell below that of reasonably careful and prudent
  3 corrections officers.
  4            79.    The agents and employees of Defendants County violated
  5 mandatory duties imposed on them by Title 15 of the California Code of
  6 Regulations, which provides minimum standards for local detention facilities such
  7 as the San Bernardino County West Valley Detention Center. These minimum
  8 standards that were violated include those governing classification of inmates to
  9 protect inmates from self-harm, and standards requiring meaningful safety checks.
 10            80.    As a result of the negligence of the individual defendants, and the
 11 breach of mandatory duties, as alleged above, Decedent lost his life.
 12            81.    The conduct of the individual defendants, and each of them, and the
 13 breach of mandatory duties, were substantial factors in causing harm to Plaintiff and
 14 Decedent.
 15            82.    The County is vicariously liable for the wrongful acts of the
 16 individual defendants pursuant to section 815.2(a) of the California Government
 17 Code, which provides that a public entity is liable for the injuries caused by its
 18 employees within the scope of their employment if the employee’s act would subject
 19 him or her to liability.
 20            83.    Plaintiff seeks compensatory damages and punitive damages under
 21 this claim.
 22            84.    Plaintiff seeks survival and wrongful death damages, punitive
 23 damages, and attorney fees under this claim, which she brings individually and as a
 24 successor-in-interest to her son.
 25                                PRAYER FOR RELIEF
 26            WHEREFORE, Plaintiff prays for relief and requests entry of judgment in
 27 his favor and against all defendants as follows:
 28

                                               -20-
                                                                     COMPLAINT FOR DAMAGES
Case 5:22-cv-01448-SSS-SP Document 1 Filed 08/16/22 Page 21 of 21 Page ID #:21




  1           A.        All general damages, including survival and wrongful death
  2 damages, in amounts according to proof;
  3           B.        Special damages in amounts according to proof;
  4           C.        Exemplary and punitive damages against the individual
  5 defendants in amounts according to proof;
  6           D.        Costs of suit;
  7           E.        Attorney fees under 42 U.S.C. § 1988 and applicable state law
  8           provisions; and
  9           F.        Such other relief as may be warranted or as is just and proper.
 10 DATED: August 16, 2022               LAW OFFICE OF THOMAS C. SEABAUGH
                                         HELM LAW OFFICE, PC
 11
 12
                                         By /s/ Thomas C. Seabaugh
 13
                                           Thomas C. Seabaugh
 14                                        Attorneys for Plaintiff
 15
 16                             DEMAND FOR JURY TRIAL

 17        Plaintiff hereby demands a trial by jury.

 18
 19 DATED: August 16, 2022               LAW OFFICE OF THOMAS C. SEABAUGH
 20                                      HELM LAW OFFICE, PC

 21
 22                                      By: /s/ Thomas C. Seabaugh
                                            Thomas C. Seabaugh
 23                                         Attorneys for Plaintiff
 24
 25
 26
 27
 28

                                              -21-
                                                                    COMPLAINT FOR DAMAGES
